
Weis HI, J.,
delivered the opinion of the Court.
The plaintiffs, on the 5th of August, 1854, .recovered two judgments before a justice of the peace for the county of Cannon, one against Thos. G. Sullivan, for $51.40, and the other against him and one Richardson, for $186.78.
They were stayed by Vance and Gunter.
On the 14th of May, 1855, Sullivan filed his petition, and obtained from a Circuit Judge, writs of certio-rari and supersedeas, to remove said causes, so far as he was concerned, into the Circuit Court of said county, to the end, that a new trial might be had.
In his petition he stated, that he did not owe the plaintiffs, and when notified to attend the trial he did so, but the attorney of the plaintiffs continued the cases several times, the last continuance being to the day on which the judgments were rendered; and that he attended on each of these days, and that the justice, on the day the judgments were rendered, being. absent, he went home, and •' did not see him until about a week afterwards, when he informed him they had been stayed by Richardson, whose debts they were; and petitioner supposed he was clear of them, and did not learn that judgments were rendered against him, until it was too late to appeal; and that a few days before filing his petition, a levy had been made on his property, under executions issued on said judgments.
He gave no reason whatever, why he did not file his petition, and have the causes removed to the next term of the Circuit Court, after the rendition of the judgments.
*442At tbe June Term, 1855, of tbe Circuit Court of Cannon county, being tbe first term after tbe filing of the petition, tbe plaintiffs moved tbe Court to dismiss tbe petition, which motion was overruled by tbe Circuit Court.
This was error. Tbe petition should have been dismissed, because not brought to tbe next term of tbe Circuit Court .after tbe judgments were rendered. Johnson &amp; Fenner v. Deberry, 10 Hum., 439.
Judgment reversed.
